Case 2:23-cv-01236-JES-KCD Document 1-2 Filed 12/29/23 Page 1 of 1 PagelID 20
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. ‘This form. approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. LIVES)

purpose of initiating the civil docket sheet

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM

I. (a) PLAINTIFFS

AISHA DUTCHER, an individual,

(b) County of Residence of First Listed Plainutl

Lee

(EXCEPT IN CLS. PLAINTIFE CASES)

(c) Attorneys (Firm Name,

Benjamin H. Yormak

tiddress, and Lelephone Number)

(239) 985-9691

27200 Riverview Center Blvd., Ste.109
Bonita Springs, FL 34134

DEFENDANTS

NOTE:

Atlomeys (ff Known

County of Residence of First Listed Defendant
UN US, PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

RPM LIVING, LLC, a Texas limited liability company,

Il. BASIS OF JURISDICTION (face an “WV in One Box Oniv)

thor Diversity Cases Onby)

Il. CITIZENSHIP OF PRINCIPAL PARTI ES Piece an “XN” in One Box for Plaintiti

ard One Box for Defendant)

Ti US. Government 43 Federal Question PTF DEF PTF DEF
Plaintiff (8. Government Nota Party) Citizen of This State ao} J 1 Incorporated or Principal Place J4 44
of Business In This State
12. U.S. Government T40 Diversity Citizen of Another State 2 2 Incorporated and Principal Place oO $ os
Detendant (indicate Citizenship of Parties in trem Hb of Business In Another State
Citizen or Subject of a 03 3 3. Foreign Nation 146 a6
Foreign Country
IV. NATURE OF SUIT (Piace an “\" in One Box Only)
L CONTRACT TORTS FORFEITURE/PENALTY. ___ BANKRUPTCY RSTA ES
1 110 Insurance PERSONAL INJURY PERSONAL INJURY — [7 625 Drug Related Seizure 1 422 Appeal 28 USC 158 375 False Claims Act
TF 120 Marine 1 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 376 Qui Tam (31 USC
TT 130 Miller Act 1 315 Airplane Product Product Liability 3 690 Other 28 USC 1357 3729(a))
T 140 Negotiable Instrument Liability 7 367 Health Care’ 400 State Reapportionment
J 180 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical ERTY. 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [7 820 Copyrights J 430 Banks and Banking

151 Medicare Act

1S2 Recovery of Defaulted
Student Loans
(Excludes Veterans)

183 Recovery of Overpayment
of Veteran's Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

330 Federal Employers’
Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal
Injury

F 362 Personal Injury -

Medical Malpractice

5
4
4
4

4

Product Liability
I 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
1 370 Other Fraud
7 371 Frith in Lending
J 380 Other Personal
Property Damage
1 385 Property Damage
Product Liability

O 830 Patent
1 840 Trademark

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

nNoaogd0o0no

J 440 Other Civil Rights

441 Voting

9 442 Employment

J 443 Housing/
Accommodations

K 445 Amer. w/Disabilities -
Employment

TJ 446 Amer, w/Disabilities -
Other

TF 448 Education

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

330 General

$35 Death Penalty

Other:

540 Mandamus & Other

350 Civil Rights

$55 Pnson Condition

560 Civil Detainee -
Conditions of
Confinement

4
aq

4
4

Wu

LABOR _SOCTAL SECURITY.
I 710 Fair Labor Standards O 861 HIA (139581) o
Act O 862 Black Lung (923) o
720 Labor/Management O 863 DIWC/DIWW (405(g)) |
Relations 864 SSID Title XVI
J 740 Railway Labor Act (1 865 RSI (405(g)) o
751 Family and Medical o
Leave Act a
TT 790 Other Labor Litigation a
5 791 Employee Retirement FEDERAL TAX SUITS
Income Security Act 1 870 Taxes (U.S. Plaintiff q
or Defendant) o

O 871 IRS-Third Party
26 USC 7609

IMMIGRATION

462 Naturalization Application
465 Other Immigration
Actions

4

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TY

850 Securities‘Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

$93 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

V. ORIGIN (Pace an “¥" i One Box Only)

xi 12

Original
Proceeding

Removed trom
State Court

a 3

Remanded from
Appellate Court

4 Reinstated or

Reopened

J 5 Transterred trom
Another District
(specify)

Litigation

O 6 Multidistrict

VI. CAUSE OF ACTION

AS a. U.S. Civil Statute under which you are filing (Do not cite jurisdictional stanutes untess diversity).
Brief description of cause; |, .
A & FCRA (Discrimination & Retaliation)

A
VII. REQUESTED IN qo

COMPLAINT:

CHECK IF THIS I
UNDER RULE 23

SA CLASS ACTION
FRCP

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

ves

No

VIL. RELATED CASE(S)

IF ANY

(See mstructions)

DOCKET NUMBER

DATE
12/29/2023

RNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE
